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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

v. No. 19-CR-10080

ELIZABETH HENRIQUEZ,
Defendant.

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ELIZABETH HENRIQUEZ’S MOTION TO MODIFY HER SENTENCE
PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

By and through undersigned counsel, Defendant Elizabeth Henriquez respectfully requests
that the Court, pursuant its statutory authority under 18 U.S.C. § 3582(c)(1)(A)(i), modify the
sentence that it imposed on March 31, 2020 to a sentence of seven months’ probation with a
condition of home confinement, in addition to whatever other conditions the Court deems
necessary and appropriate under the 18 U.S.C. § 3553(a) factors and the United States Sentencing
Guidelines Manual.

Earlier today, Ms. Henriquez filed a motion to seal the memorandum of law supporting
this motion. Undersigned counsel intend to file the supporting memorandum of law under seal
with the Court, as well as file on the public docket an appropriately redacted version of the

memorandum, once the Court rules on the motion to seal.

DATED: June 2, 2020 Respectfully submitted,

/s/ Aaron M. Katz

Aaron M. Katz (BBO #662457)
Ropes & Gray LLP

800 Boylston Street

Boston, MA 02199

(617) 951-7000

aaron. katz@ropesgray.com

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